                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                      DOCKET NO. 3:09CR39-6

             V.                                                    ORDER

TAVARUS STURDIVANT
______________________________________________________________________

This MATTER is before the court upon remand from the United States Court of Appeals for the
Fourth Circuit for additional proceedings

IT IS THEREFORE ORDERED that the United States Marshal have the defendant Tavarus Sturdivant
 present in Charlotte, North Carolina forthwith, but not later than May 30, 2014.

The Clerk is directed to certify copies of this order to Defendant, Counsel for Defendant, to the
United States Attorney, the United States Marshals Service, and the United States Probation
Office, and the Clerk of the United States of Appeals for the Fourth Circuit.

IT IS SO ORDERED.

                                                      Signed: April 24, 2014




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